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                                                                                                             EXHIBIT A
ACADEMIC AFFAIRS                                                                                             University Campus - MC2006
                                                                                                             Post Office Box 6665
        - June 18, 2012                                                                                  '   Saint Leo, FL 33574-6665
                                                                                                             Phone: (352) 588-
                                                                                                             Fax: (352) 588-8207
          Dr. Christine Sereni-Massinger




          Dear Dr. Sereni-Massinger:

          Upon the recommendation of the search committee and the Dean of the School of Education & Social Services, I am
          pleased to offer you a full-time, non-tenure track, faculty appointment as an Associate Professor at Saint Leo
          University. The location for this appointment will be at the Gainesville, Lake City, and Ocala Centers beginning
          July 1, 2011.

          This appointment is a twelve (12) month year round faculty appointment with two (2) months of release time. The
          specific release times will be determined in consultation with the Criminal Justice Department Chair, Dr. Bobby
          Diemer.

          We are delighted that you are accepting our offer to become a member of our Saint Leo Community.             Regardless of
          the location, we seek to provide students with a challenging education grounded in our values, and we are confident
          that you share in that commitment.

          If you have any questions regarding this position, please feel free to contact me at (352) 588-

          Once you accept this appointment, the Dean and the Chair will be responsible for meeting with you to develop and
          outline expectations for your teaching, scholarly, and service duties during the upcoming academic year. This will
          serve as part of the Dean and Chair’s basis for year-end professional evaluations.

          This offer is valid for fifteen (15) days from the date of this letter. If you are in agreement with this offer of
          employment, please sign and return the original offer and appointment letters to the Division of Academic Affairs in
          the envelope provided.

          Sincerely,




          Maribeth Durst, Ph.D.
          Vice President of Academic Affairs

          cc:                  Human Resources Personne! File

          Enclosures:          Appointment Letter
                               University Technology Services Information
                               Reply Envelope


          I, Christine Sereni-Massinger, accept the position as Associate Professor with Saint Leo University under the terms
          as specified.


                VA          ee                                                                           ua 7 / 2.
          Chriftifie Sereni-Massinger                                                            Date



                                                           www.sdintleo.edu
          Original: Academic Affairs Faculty File                                                  Copy: Human Resources Personnel File
           Excellence | Community | Respect | Personal Development | Responsible Stewardship | Integrity
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                                                   AINT   LEO
                                                   UNIVERSITY

                                              Appointment Letter

 June 18, 2012




 Dr. Christine Sereni-Massinger




 Upon the recommendation of the search committee and the Dean of the School of Education & Social Services, I am
 pleased to offer you a full-time, non-tenure track, faculty appointment as an Associate Professor at Saint Leo
 University. The location for this appointment will be at the Gainesville, Lake City, and Ocala Centers beginning
 July 1, 2011.


 This appointment is a twelve (12) month year round faculty appointment with two (2) months of release time. The
 specific release times will be determined in consultation with the Criminal Justice Department Chair, Dr. Bobby
 Diemer.


 In your academic teaching capacity, you will report to the Chair of the Criminal Justice department, Dr. Bobby
 Diemer. The core of your academic teaching responsibilities will be a nine (9) course-teaching load for the
 academic year. In your Academic Advising capacity, you will report to the Center Director(s). The core of these
 responsibilities will be ten (10) hours per week of academic advising.

                                                                                     ’


 Your rate of pay for this position will be $        annualized. Your pay is subject to those deductions required by
 law, University policy, or elected by you. You will be eligible to participate in the benefit programs as offered by
 the University to full-time employees. Your health insurance benefits will begin on the date of hire. University
 provided and voluntary benefits will begin on the first of the next month unless otherwise stipulated. The University
 provides a 403(b) retirement plan for all full-time employees, which will be discussed with you at the new employee
 welcome program.


 This appointment is also subject to the provisions of the Faculty Handbook, the Employee Handbook, any
 amendments thereto, and other University policies and procedures which pertain to regular full-time employees.


 It is university policy to require that an official transcript be on file for all faculty members. With receipt of your
 official transcripts, you have fulfilled this requirement.




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 Page 2: Appointment Letter — Christine Sereni-Massinger
 June 18, 2012




 The Immigration Reform and Control Act requires all new employees to provide verification of their legal right to
 work in the United States. We therefore will require you to provide the appropriate documentation to the Office of
 Faculty and Staff Human Resources on your first day of employment. The list of acceptable documents for use in
 verification is available from the Human Resources office. You will not be allowed to begin your employment with
 Saint Leo University until this requirement has been met.


 The above offer is contingent upon successful completion of background check reference verification, and full
 compliance with the Immigration and Control Act of 1986. In accepting this offer, you give us full assurance that
 you have not relied on any agreements or representations, express or implied, with respect to your employment that
 are not set forth expressly in this letter.


 This agreement supersedes all prior written or verbal communications and can be modified only by subsequent
 written agreement between you and Saint Leo University, signed by both you and an officer of the University.




 I, Christine Sereni-Massinger, accept the position as Associate Professor with Saint Leo University under the terms
 as specified.




       f__—
 Christine Sereni-Massinger                                                       Date
                                                                                         Jaf
  Prntith                        ewte                                             06/18/12
 Maribeth Durst, Ph.D.                                                            Date
 Vice President of Academic Affairs




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